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THE ORD FIRM, P.C.
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Attorney for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                 Case No.: 2:17-cv-00718-JNP-BCW

                  Plaintiff,
                                                NOTICE OF VOLUNTARY DISMISSAL
 v.
                                                WITH PREJUDICE

 Rue21 Inc. doing business as Rue 21,
                                                Assigned to: Judge Jill N. Parrish
                  Defendant.                    Referred to: Magistrate Judge Brooke C. Wells


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(i)

and DUCivR 54-1(b) and (d), Plaintiff, Trevor Kelley, hereby voluntarily dismisses this Action

with prejudice.


       RESPECTFULLY submitted on this 18th day of October, 2017.


                                                  /s/ James K. Ord, III
                                                  JAMES K. ORD, III, ESQ.
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   Case 2:17-cv-00718-JNP Document 10 Filed 10/18/17 PageID.129 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of October 2017, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:


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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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